Case 1:24-cv-00519-SEB-MG           Document 78        Filed 04/07/25     Page 1 of 3 PageID #:
                                          1180



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION                                      FILED
                                                                                         04/07/2025
ENRIC MALLORQUI-RUSCALLEDA, )                                                      U.S. DISTRICT COURT
                                             )                                  SOUTHERN DISTRICT OF INDIANA
        Plaintiff,                           )                                      Kristine L. Seufert, Clerk
                                             )
v.                                           )       CAUSE NO. 1:24-CV-00519-SEB-MG
                                             )
THE TRUSTEES OF INDIANA                      )
UNIVERSITY-PURDUE                            )
UNIVERSITY INDIANAPOLIS,                     )
                                             )
        Defendant.                           )



     NOTICE OF SUPPLEMENTARY CIVIL RIGHTS FILING AND CLARIFICATION
                     REGARDING PRIOR OCR COMPLAINT DISMISSAL


     1. Plaintiff respectfully submits this notice to apprise the Court and Defendants’ counsel of
        material developments concerning his civil rights complaint filed with the U.S. Department
        of Education, Office for Civil Rights (OCR), Region V, under Case No. 05-25-2215.


     2. On February 11, 2025, Plaintiff submitted a formal complaint to OCR alleging unlawful
        discrimination by Indiana University–Indianapolis on the bases of national origin,
        disability, age, and retaliation. On that same date, Plaintiff transmitted a signed Consent
        Form in accordance with OCR’s procedural requirements, and within the twenty (20)
        calendar-day deadline imposed by the agency (see Exhibit 2).


     3. Subsequently, on March 10, 2025, OCR issued a letter dismissing the complaint—not for
        failure to respond, nor for any procedural or substantive deficiency attributable to
        Plaintiff—but rather due to an administrative technicality. Specifically, Plaintiff had
        inadvertently selected Section B of the Consent Form, thereby withholding authorization
        for OCR to disclose his identity and personally identifiable information to the respondent
        institution (see Exhibit 2). OCR determined it could not proceed with an investigation of

                                                                                               1 of 3
Case 1:24-cv-00519-SEB-MG          Document 78       Filed 04/07/25       Page 2 of 3 PageID #:
                                         1181



      the allegations under such constraints and closed the matter on that sole basis (see Exhibit
      1).


   4. Plaintiff wishes to clarify for the record that he acted with diligence and in good faith
      throughout the process, having submitted all documentation in a timely and proper manner.
      Upon receipt of OCR’s correspondence and clarification, Plaintiff immediately initiated
      corrective action by submitting an updated Consent Form granting full authorization, and
      has formally requested that OCR reopen the case.


   5. This notice is submitted in the interest of procedural transparency and to ensure the
      integrity and completeness of the record before this Honorable Court. Plaintiff respectfully
      requests that this clarification be duly noted in assessing the procedural posture of the
      present litigation and Plaintiff’s consistent efforts to exhaust available administrative
      remedies.


   6. For the Court’s convenience, the following exhibits are attached:


      (i) Exhibit 1 – Letter from OCR dated March 10, 2025, detailing dismissal rationale.

      (ii) Exhibit 2 – Original Consent Form and email confirmation of timely submission.

      (iii) Exhibit 3 – OCR’s original request for submission of Consent Form and related

            guidance.


   7. Should the Court or Defendants’ counsel require any additional documentation or
      clarification, Plaintiff stands ready to provide such materials promptly upon request.


                                                                             Dated: April 7, 2025
                                                                          Respectfully submitted,
                                                                  /s/ Enric Mallorquí-Ruscalleda




                                                                                               2 of 3
Case 1:24-cv-00519-SEB-MG            Document 78        Filed 04/07/25      Page 3 of 3 PageID #:
                                           1182



CERTIFICATE OF SERVICE


I hereby certify that on April 7, 2025, I electronically filed the foregoing Notice of Supplementary
Civil Rights Filing and Clarification Regarding Prior OCR Complaint Dismissal with the Clerk
of the Court for the United States District Court for the Southern District of Indiana using the
CM/ECF system, which will send notification of such filing to all counsel of record registered to
receive CM/ECF notices.


Additionally, pursuant to Rule 5 of the Federal Rules of Civil Procedure and Local Rule 5-2 of the
Southern District of Indiana, a true and correct copy of the foregoing, along with all referenced
exhibits, was served via electronic mail upon the following counsel of record for Defendants:


                                                                            Mr. Myekeal D. Wynn
                                                                        Assistant General Counsel
                                                                                Indiana University
                                                 Office of the Vice President and General Counsel
                                                                 301 University Blvd, Room 5030
                                                                           Indianapolis, IN 46202
                                                                         Email: myesmith@iu.edu

I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct.

                                                                               Dated: April 7, 2025

                                                                            Respectfully submitted,

                                                                   /s/ Enric Mallorquí-Ruscalleda
                                                      Enric Mallorquí-Ruscalleda, PhD, JD, LLM
                                                                    Address on file with the Court
                                                     Email: enric.mallorqui.ruscalleda@gmail.com




                                                                                               3 of 3
